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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In Re:
                                                         Case No. 14-16478-ABG
         Arnold Lee Einbinder and
         Deanna Sydne Einbinder,                         Chapter: 13

                                                         Judge A. Benjamin Goldgar
         Debtors.
                                                         Lake County




                                           NOTICE OF MOTION
To:
         Arnold Lee Einbinder and Deanna Sydne Einbinder
         26730 Long Meadow Circle
         Mundelein, IL 60060

         Charles L. Magerski
         Sulaiman Law Group, LTD
         900 Jorie Boulevard, Suite #150
         Oak Brook, IL 60523

         Glenn B. Stearns
         801 Warrenville Road, Suite #650
         Lisle, IL 60532

         Patrick S. Layng
         Office of the U.S. Trustee, Region 11
         219 S Dearborn Street, Room 873
         Chicago, IL 60604


                  PLEASE TAKE NOTICE THAT on October 3, 2014 at 9:30 a.m. or as soon thereafter as
         counsel may be heard, I shall appear before the Honorable A. Benjamin Goldgar, at North Branch
         Court, 1792 Nicole Lane, Round Lake Beach, IL 60073 or before such other Judge as may be sitting
         in his stead and present the attached Motion for Relief from the Automatic Stay at which time and
         place you may appear.
                                                 /s/ Evan L. Moscov
                                                 Evan Lincoln Moscov, ARDC No. 6278081
                                                 Weinstein, Pinson & Riley, P.S.
                                                 469 W. Huron St., Suite 1701
                                                 Chicago, IL 60654
                                                 (312) 255.7996
                                                 evanM@w-legal.com

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                                      CERTIFICATE OF SERVICE

        I hereby certify that on September 15, 2014 a copy of the foregoing Notice of Motion was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

        Attorney for Debtors
        Charles L. Magerski
        Sulaiman Law Group, LTD
        900 Jorie Boulevard, Suite #150
        Oak Brook, IL 60523


        Trustee
        Glenn B. Stearns
        801 Warrenville Road, Suite #650
        Lisle, IL 60532


        U.S. Trustee
        Patrick S. Layng
        Office of the U.S. Trustee, Region 11
        219 S Dearborn Street, Room 873
        Chicago, IL 60604

         I further certify that on September 15, 2014 a copy of the foregoing Notice of Motion was mailed
by first-class U.S. Mail, postage prepaid and properly addressed, to the following:


        Debtors
        Arnold Lee Einbinder and Deanna Sydne Einbinder
        26730 Long Meadow Circle
        Mundelein, IL 60060

                                                   /s/ Kathy Liriano
                                                   Kathy Liriano
                                                   Assistant to Evan L. Moscov




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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In Re:
                                                          Case No. 14-16478-ABG
         Arnold Lee Einbinder and Deanna Sydne
         Einbinder,                                       Chapter: 13

                                                          Judge A. Benjamin Goldgar
         Debtors.
                                                          Lake County



                        MOTION FOR RELIEF FROM AUTOMATIC STAY

         NOW COMES Nationstar Mortgage, LLC (“Nationstar”), as servicer for Lehman XS Trust

Mortgage Pass-Through Certificates, Series 2007-1, U.S. Bank National Association, as Trustee, successor

in interest to Wilmington Trust Company, as Trustee, successor in interest to Bank of America, National

Association, as Trustee, successor by merger to LaSalle Bank National Association, as Trustee (“U.S.

Bank”), by its undersigned counsel, respectfully moves this Honorable Court pursuant to 11 U.S.C. Section

362(d) of the United States Code, 11 U.S.C. §§ 101 et seq. (“the Bankruptcy Code”) for the entry of an

order modifying the automatic stay with respect to the real property located at 632 N. County Street,

Waukegan, IL 60085 (the “Premises”):

         Attached are redacted copies of any documents that support the claim, such as promissory notes,

purchase order, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and

security agreements in support of Nationstar’s right to seek relief from the automatic stay and foreclose if

necessary.

                                         Jurisdiction and Venue

         1. The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334.

         2. This is a core matter pursuant to 28 U.S.C. § 157(b)(2)(G).

         3. Venue of the Motion in this District is proper pursuant to 28 U.S.C. § 1409(a).

                                          Predicates for Relief
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    4. This Motion is premised on Section 362(d) of the Bankruptcy Code.

                                     Statement of Facts

    5. On March 6, 2007, the debtors borrowed $259,000.00 from Perl Mortgage, Inc. (“Perl”)

        pursuant to a fixed rate promissory note (the “Note”). A copy of the Note is attached as Exhibit

        A.

    6. To secure repayment of the Note, the Debtors executed a mortgage (the “Mortgage”) granting

        Mortgage Electronic Registration Systems, Inc. (“MERS”), as nominee for Perl, a first priority

        security interest in the Premises. A copy of the Mortgage is attached as Exhibit B.

    7. The Mortgage was recorded on April 5, 2007 with the Lake County Recorder of Deeds.

    8. The Mortgage and Note were assigned to U.S. Bank. A copy of the assignment is attached

        hereto as Exhibit C.

    9. The Note is in possession of Nationstar.

    10. On April 30, 2014, the Debtors filed a petition for relief under Chapter 13 of the Bankruptcy

        Code. On Schedule D of the petition, the Debtors included an undisputed secured obligation

        with respect to the Premises in the amount of $242,862.00 owed to Nationstar and estimated

        the market value of the Premises as $173,000.00.

    11. Debtors’ proposed Chapter 13 Plan provides that the Debtors shall surrender the Premises.

    12. On July 15, 2014, a proof of claim with respect to the Premises was filed on behalf of U.S.

        Bank in the amount of $248,311.58.

    13. Debtors have defaulted on the Note.

    14. As set forth on the post-petition payment history attached as Exhibit D, Debtors owe the unpaid

        balance of $242,862.36 on the Note, $13,132.89 in interest that is accruing at the rate of $59.72

        per day and are delinquent on 5 post-petition payments to Nationstar in the amount of

        $10,396.60.




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                                             ARGUMENT

               FAILURE TO MAKE FIVE POST- PETITION PAYMENTS
           CONSTITUTES CAUSE FOR RELIEF FROM THE AUTOMATIC STAY

    15. Failure to make five post-petition payments on a secured obligation constitutes cause to modify

        the automatic stay to permit foreclosure. Section 362(d)(1) of the Bankruptcy Code provides:

      On request of a party in interest and after notice and a hearing, the court
      shall grant relief from the stay provided under subsection (a) of this section,
      such as by terminating, annulling, modifying or conditioning such stay –
      (1) for cause, including the lack of adequate protection of an interest in property of such party
          in interest;

    16. Cause is not defined in the Bankruptcy Code and must be determined on a case by case basis

        based on an examination of the totality of circumstances. Mac Donald v Mac Donald (In re

        Mac Donald), 755 F. 2d 715, (9th Cir. 1985); Kronemyer v. Am. Contractors Indem. Co. (In re

        Kronmeyer), 405 B.R. 915, 921 (9th Cir. BAP2009); In re Reitnauer, 152 F.3d 341, 343 n. 4

        (5th Cir.1998); In re Mendoza, 111 F.3d 1264 (5th Cir. 1997).

    17. A failure to make post-petition mortgage payments as they become due in a chapter 13 case

        may constitute prima facie “cause” for relief from the automatic stay under section 362(d)(1).

        In re Marks, 2012 WL 6554705 (9th Cir.BAP (Cal.); Americredit Fin. Servs. Inc. v. Nichols

        (In re Nichols), 440 F.3d 850, 856 (6th Cir.2006); In re Neals, 459 B.R. 612, 620 (Bankr. D.SC

        2011); Ellis v. Parr (In re Ellis), 60 B.R. 432, 435 (9th Cir.BAP 1985); In re Miano, 261 B.R.

        391, 392-93 (Bankr. D. N.J. 2001)(dicta); In re Oare, 181 B.R. 16, 19 (Bankr. N.D.Y.Y. 1995);

        Lomas Mortg. USA, Inc. v. Elmore (In re Elmore), 94 B.R. 670, 678 (Bankr.C.D.Cal.1988); In

        re Davis, 64 BB.R. 358 (Bankr. S.D.N.Y. 1986); In re Marter, 61 B.R. 271 (Bankr. E.D.Pa.

        1986); In re Shahid, 27 B.R. 673 (S.D. Ohio 1982).

    18. As a result of the default, the lack of equity in the Premises and the intention of the Debtors to

        surrender the Premises, the Debtors are not providing Nationstar with adequate protection of

        U.S. Bank’s security interest in the Premises. Accordingly, cause exists to modify the automatic

        stay with respect to the Premises.


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        WHEREFORE, Nationstar respectfully requests that this Honorable Court enter an order

modifying the automatic stay with respect to the Premises and waiving the 14 day stay pursuant to Federal

Rule of Bankruptcy Procedure 4001(a)(3).

                                                Respectfully Submitted,

                                                /s/ Evan Lincoln Moscov
                                                Evan Lincoln Moscov, ARDC No. 6278081
                                                Weinstein, Pinson & Riley, P.S.
                                                469 W. Huron Street, Suite 1701
                                                Chicago, IL 60654
                                                Telephone: (312) 255-7996
                                                Email: Evanm@w-legal.com




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        Attorney for Debtors
        Charles L. Magerski
        Sulaiman Law Group, LTD
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        219 S Dearborn Street, Room 873
        Chicago, IL 60604

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        26730 Long Meadow Circle
        Mundelein, IL 60060


                                                         /s/ Kathy Liriano
                `                                        Kathy Liriano
                                                         Assistant to Evan L. Moscov




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